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14                      UNITED STATES DISTRICT COURT

15                    CENTRAL DISTRICT OF CALIFORNIA

16
     FIONA HARVEY,
17                                                Case No. 2:24-cv-04744-RGK-AJR
                             Plaintiff,
18                                                PLAINTIFF’S MEMORANDUM
           v.
19                                                OF LAW IN OPPOSITION TO
     NETFLIX, INC. and NETFLIX                    DEFENDANTS’ SPECIAL
20                                                MOTION TO STRIKE
     WORLDWIDE ENTERTAINMENT, LLC,
21
                             Defendants.          Date: September 16, 2024
22                                                Time: 9:00 a.m.
23                                                Place: Courtroom 850

24                                                Hon. R. Gary Klausner
25
26
27
28
            PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE
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  1                            PRELIMINARY STATEMENT
  2        This is a true story about what happens when Netflix’s need to provide
  3 compelling content to add subscribers goes too far. To makes its new series Baby
  4 Reindeer about ‘Martha’ the convicted stalker more compelling, Netflix called Baby
  5 Reindeer, a “true story.” Netflix now admits the Series is fictionalized. But for
  6 Netflix, its corporate mission was accomplished. Netflix added millions of
  7 subscribers immediately following Baby Reindeer’s release.
  8        Meanwhile, the real ‘Martha’ is plaintiff Fiona Harvey, an anonymous private
  9 person, living in a small flat in London, who as result of being easily identified as the
10 real ‘Martha’ in Baby Reindeer has received death threats, been called a rapist, and
11 has received a constant stream of direct messages to “kill herself.”
12         Now, by this motion, Netflix seeks to rewrite history. Netflix expresses
13 befuddlement that anyone would believe Netflix’s claim that “this is a true story” and
14 claims no reasonable person would believe Netflix when it made that representation
15 to 50 million people. Netflix argues that it could not have defamed Harvey because
16 although Netflix coopted her entire identity and depicted her committing rape,
17 pleading guilty in court, and going to prison, Netflix was careful not to use her real
18 name. Netflix knows better.
19          Netflix’s motion to strike must be denied because the law does not protect
20 false statements of criminal conduct. Discovery into the genesis of Netflix’s
21 calculated decision to falsely state “this is a true story” should proceed immediately.
22 At trial, Netflix must be held responsible for destroying Fiona Harvey’s life for the
23 sake of adding subscribers.
24                                     BACKGROUND
25         In the Netflix series Baby Reindeer (the “Series”): (1) Martha was convicted of
26 stalking a barrister with a disabled child and served a four-and-a-half-year sentence;
27 (2) Martha pled guilty and was a convicted stalking a second time and was sentenced
28                                              1
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  1 to a nine-month sentence for stalking Gadd; (3) Martha cornered Gadd in a dark alley
  2 and raped him by grabbing his penis until he ‘beated’; (4) Martha gouged Gadd’s
  3 eyes with her thumbs and smashed a glass over his head leaving him bloodied; (5)
  4 Martha waited outside Gadd’s residence 16 hours a day; and (6) Martha stalked a
  5 policeman. Complt., ¶ 88.
  6        The public understood that the real ‘Martha’ did these monstrous things for
  7 good reason. Episode One of Baby Reindeer begins with a black screen on which the
  8 words “this is a true story appear.” Complt., ¶ 23. Netflix promoted Baby Reindeer
  9 on its website, with an article about the Series that states, “it’s important to
10 remember that this isn’t just a story – it’s true.” Complt., ¶ 73; Levenson Decl., ¶ 4,
11 Exh. 2. Netflix promoted the Series on Facebook and Twitter with a post viewed by
12 millions purporting to show Harvey’s real emails, titled, “Martha’s Real Emails from
13 Baby Reindeer – Every One of Them Is Real.” Levenson Decl., ¶ 9, Exh. 7. Netflix
14 stated in a UK Parliament committee hearing that “Baby Reindeer is obviously a true
15 story of the horrific abuse that [Richard Gadd] suffered at the hands of a convicted
16 stalker.” Complt., ¶ 77; Levenson Decl., ¶ 3, Exh. 1, at Q401 (p. 32).
17         The only question then was, who was the real Martha? That question was
18 answered within days. The answer was plaintiff, Fiona Harvey. Harvey, like Martha,
19 were Scottish lawyers, twenty years older than Gadd, living in London, with identical
20 accents, cadence, and physical appearance, who both were accused in newspapers of
21 stalking a barrister, and who messaged Gadd with the unusual euphemism for sex,
22 “my curtains need hung badly.” Complt., ¶¶ 33, 40-41; Hala Decl., ¶ 5; Harvey
23 Decl., ¶ 4, 8-9, 11, Exh. 26. There was no question that Harvey was Martha.
24         In May 2024, in response to an inquiry by a UK Parliament Committee
25 inquiring why journalists have not been able to find any record of Fiona Harvey’s
26 convictions, Netflix provided a signed letter in which it confirmed that “the person
27 upon whom the show is based” was not a convicted stalker after all. Levenson Decl.,
28                                               2
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  1 ¶ 5, Exh. 3. Now, Netflix admits in its motion to strike, that none of the statements
  2 about Harvey in Baby Reindeer are true, and that the Series is fictionalized. Gadd
  3 Decl., ¶¶ 10-13; Netflix Decl., ¶¶ 7-9.
  4         Discovery will reveal that Netflix has always known that its Series Baby
  5 Reindeer was not a true story. In 2020, Netflix bought the rights a one-man stage
  6 play Baby Reindeer written by Richard Gadd, (the “Play”), that is “based on a true a
  7 story.” Netflix Decl., ¶ 3; Levenson Decl., ¶ 8, p. 3. In Gadd’s one-man play, Martha
  8 is played by a bar stool and has a pre-recorded Irish accent. Levenson Decl., ¶ 8,
  9 Exh. 6, p. 6. Martha is described as “a seasoned pro” at stalking. Id. at 29. Martha is
10 never convicted of any crime and never goes to prison. Instead, the Play concludes
11 with Martha receiving a First Instance Harassment Warning for stalking Gadd. Id. at
12 p. 46.
13          When asked in a UK Parliament Committee about the Series, Netflix executive
14 Benjamin King responded, “I cannot get into the specifics of what happened around
15 the making of the show, because it would not be appropriate for me to comment,”
16 Levenson Decl., ¶ 3, Exh. 1 at Q403 (p. 33). Netflix has evaded the true story about
17 Baby Reindeer for too long. Discovery will show that it was Netflix who insisted on
18 the “this is a true story” title card at the beginning of Baby Reindeer to make its
19 content more compelling to attract more subscribers and fatten its bottom line. The
20 same has recently been credibly reported in The Times UK. Levenson Decl., ¶ 7,
21 Exh. 5 (“[s]ources in the TV industry have told The Sunday Times that th[e] line
22 [‘this is a true story’] was a request from Netflix, and that Gadd expressed concerns
23 about presenting it as such (both Netflix and Gadd’s representatives did not respond
24 to requests for comment).” The motion must be denied, and discovery granted,
25 because the true story of Baby Reindeer has not yet been written.
26
27
28                                              3
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  1                      STANDARD ON AN ANTI-SLAPP MOTION
  2          “The anti-SLAPP statute does not insulate defendants from any liability for
  3 claims arising from the protected rights of petition or speech. It only provides a
  4 procedure for weeding out, at an early stage, meritless claims arising from protected
  5 activity.” Monster Energy Co., v. Schechter, 7 Cal.5th 781, 788 (2019). Resolution of
  6 an anti-SLAPP motion involves two steps. First, the defendant must establish that the
  7 challenged claim arises from activity protected by section 425.16. Monster Energy at
  8 788. If the defendant makes the required showing, the burden shifts to the plaintiff to
  9 demonstrate the merit of the claim by establishing a probability of success. In this
 10 second-step, the plaintiff’s evidence is accepted as true, and the court’s inquiry is
 11 limited to whether the plaintiff has stated a legally sufficient claim and made a prima
 12 facie factual showing sufficient to sustain a favorable judgment. Id.
 13                                        ARGUMENT
 14                                           POINT I
 15                     NETFLIX’S FALSE STATEMENTS ARE
                   NOT SUBJECT TO A SPECIAL MOTION TO STRIKE
 16
            Netflix’s statements are not “free speech in connection with a public issue”
 17
      under § 425.16 for two reasons. First, as a matter of law, false accusations of
 18
      criminal conduct are not subject to a special motion to strike. Second, the statement
 19
      must relate to a public issue, not a private dispute. Netflix has failed to carry its
 20
      burden of establishing the subject statements are protected under the statute. The
 21
      motion to strike should be denied at the first step of the analysis.
 22
 23      A. Netflix’s False Allegations of Criminal Conduct Is Not Protected Activity
 24         Under §425.16

 25         Causes of action arising from false allegations of criminal conduct are not

 26 subject to the anti-SLAPP laws. Abuemeira v. Stephens, 246 Cal.App.4 1291, 1298
                                                                                  th


 27 (2016)(citing Weinberg v. Feisel 110 Cal.App.4th 1122, 1127 (2003)); Briganti v.
 28                                                4
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  1 Chow, 42 Cal. App.5th 504, 510 (2019); New Show Studios LLC v. Needle, 2014 WL
  2 12495640 (C.D.Cal., 2014) (same). Otherwise, wrongful accusations of criminal
  3 conduct would receive the most stringent protections under law – a result that would
  4 be “inconsistent” the purpose of the anti-SLAPP statute. Weinberg at 1134-1136.
  5 See M.G. v. Time Warner, Inc., 89 Cal.App.4th 623 (2001)(purpose of the anti-
  6 SLAPP statute is to curb meritless lawsuits, not to prohibit bona fide claims).
  7        Netflix admits that all of Harvey’s criminal conduct in Baby Reindeer –
  8 criminal convictions, sexual assault, physical assault, stalking a police officer,
  9 stalking Gadd outside his home for 16 hours a day, is “fiction.” Gadd Decl., ¶ 9
 10 (“[Baby Reindeer] is fictionalized and not intended to portray actual facts.”)
 11 Accordingly, the motion to strike must be denied on this basis alone.
 12     B. Netflix’s Defamatory Statements Are Not in the Public Interest
 13        No public interest was implicated by Netflix’s statements about Harvey
 14 because: (1) Harvey is a private person; (2) Harvey’s conduct could not directly
 15 affect a large number of people; and (3) Harvey’s conduct was not of concern to a
 16 substantial number of people and never received extensive media coverage. Geiser v.
 17 Kuhns, 13 Cal.5th 1238, 1248 (2022).
 18        Netflix argues its false statements about Harvey are in the public interest
 19 because the Series is about harassment and about Gadd, who is in the public eye.
 20 Netflix Br. 8-9. However, Netflix misses the mark. The issue is not whether the
 21 subject matter of the Series concerns a public interest, but rather whether Netflix’s
 22 statements about Harvey, concern a public interest. Geiser at 1248. Further, speech
 23 concerning a private matter, such as this one between Gadd and Harvey, is not a
 24 public interest. Rivero v. American Federation of State, County and Municipal
 25 Employees, AFL-CIO 105 Cal.App.4th 913, 919-924 (2003); Weinberg v. Feisel, 110
 26 Cal.App.4th 1122, 1127 (2003) (“the defendant cannot turn otherwise private
 27 information into a matter of public interest simply by communicating it to a large
 28                                             5
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  1 number of people.” (citing Time, Inc. v. Firestone, 424 U.S. 448, 454, 96 S.Ct. 958,
  2 965 (1976) (high profile divorce not a public interest). “Public interest does not
  3 equate with mere curiosity.’ Bernstein v. LaBeouf, 43 Cal. App. 5th 15, 23 (2019).
  4 Netflix has failed to meet its burden to show its statements about Harvey’s conduct
  5 concern a public interest.
  6        Finally, on this motion, Netflix, relies on Gadd’s declaration that Baby
  7 Reindeer does not concern Gadd. Netflix Decl., ¶ 3 (“fictionalized character Donny
  8 Dunn”). Netflix should not be permitted to simultaneously argue that Gadd’s
  9 character “Donny” really is Gadd to survive opposition to its motion to strike.
 10 Regardless, a person’s “celebrity status, on its own, is not sufficient to render
 11 anything the defendant says or does subject to anti-SLAPP protection.” Bernstein v.
 12 LaBeouf, 43 Cal.App.5th 15, 23 (2019).
 13        Netflix’s motion to strike must be denied as Netflix failed to meet its burden at
 14 the first step of establishing statutorily protected speech. Accordingly, the Court need
 15 not reach the second step of the analysis – whether Harvey met her burden of
 16 establishing a probability of success on the merits. Dual Diagnosis Treatment
 17 Center, Inc. v. Buschel, 6 Cal.App.5th 1098, 1107 (2016).
 18                                          POINT II
 19                      HARVEY’S CLAIM HAS MINIMAL MERIT
 20        Even if Netflix reaches the second step of the anti-SLAPP analysis by making
 21 a threshold showing that its false statements about Harvey are statutorily protected,
 22 its motion to strike must be denied if Harvey shows her claim has “minimal merit.”
 23 Manzari v. Associated Newspapers Ltd., 830 F.3d 881, 887 (9th Cir. 2016). In the
 24 second step of the anti-SLAPP analysis, federal courts apply “different standards
 25 depending on the motion's basis.” Planned Parenthood Fed'n of Am., Inc. v. Ctr. for
 26 Med. Progress, 890 F.3d 828, 833 (9th Cir. 2018).“If a defendant makes an anti-
 27 SLAPP motion to strike founded on purely legal arguments, then the analysis is
 28                                             6
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  1 made under Fed. R. Civ. P. 8 and 12 standards; if it is a factual challenge, then the
  2 motion must be treated as though it were a motion for summary judgment and
  3 discovery must be permitted.” Id. at 834.
  4         Netflix makes a series of legal and factual challenges to the Complaint that
  5 require discovery. Netflix argues that Harvey has not been defamed because (1)
  6 Harvey’s real name is not used in Baby Reindeer; (2) no reasonable person would
  7 believe this “true story” was a true story; (3) Netflix’s statements were mere
  8 opinions; (3) Netflix’s false statements of fictional acts are substantially true; and (4)
  9 Harvey is a public figure who cannot show actual malice. Netflix’s arguments must
 10 be rejected.
 11     A. Harvey Stated a Claim for Defamation
 12         There is no requirement that the person defamed be mentioned by name.
 13 Church of Scientology of California v. Flynn, 744 F.2d 694 (9th Cir.1984) (citing
 14 Bindrim v. Mitchell, 92 Cal.App.3d 61, 75–76,). It is sufficient “if the publication
 15 points to the plaintiff by description or circumstance tending to identify him.” Id.
 16 “[A] defamatory statement . . . sufficiently identifies the plaintiff if it is capable of
 17 being understood as referring to the plaintiff and there is evidence, direct or
 18 circumstantial, that the statement was “so understood by a third party.” Onokohwomo
 19 v. Sterling Jewelers, Inc., 2022 WL 2256321*1 (9th Cir. 2022) (citing SDV/ACCI,
 20 Inc. v. AT&T Corp., 522 F.3d 955, 959–60 (2008). A plaintiff may use extrinsic facts
 21 to show that [the] statements were “of and concerning” them. Miller v. Sawant, 811
 22 Fed.Appx.408, n.3 (9th Cir. 2020); Ball v. Taylor, 416 F.3d 915, 916 (8th Cir. 2005);
 23 Umfress v. City of Memphis, Tennessee, 2021 WL 2828023, *1-3 (6th Cir. 2021).
 24         Harvey has the same nationality, age, occupation, residence, physical
 25 appearance, accent and cadence as ‘Martha’. Complt., ¶¶ 40-41; Harvey Decl., ¶¶ 3,
 26 4, 8, 20; Hala Decl., ¶¶ 5-6. In addition, Harvey and Martha are both highly stressful,
 27 emotional, bright and at times funny individuals. Hala Decl., ¶ 2. Harvey and Martha
 28                                               7
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  1 both send Gadd messages about “hanging my curtains” as a euphemism for sex in
  2 around the year 2014, and both were accused of having stalked a barrister with a
  3 disabled child. Complt., ¶ 35; Levenson Decl, ¶ 11, Exh. 8; Armstrong Decl., ¶ 4.
  4         Gadd denies that Harvey is Martha in his declaration, but then immediately,
  5 and perhaps, unwittingly, leaves no doubt that Harvey is Martha, by recounting his
  6 “real life” experiences with Fiona Harvey that are depicted note for note in the
  7 Series. Gadd Decl., ¶¶ 10, 14-23. For example, Gadd declares under oath that in
  8 real-life, Gadd offered Harvey a free cup of tea at the pub where he worked (Gadd
  9 Decl., ¶ 14) (Episode One at 1:43); Harvey hung around the pub constantly while
 10 Gadd worked (Gadd Decl., ¶ 15) (Episode Two at 12:00-13:00); Harvey mentioned
 11 to a customer at the bar a bad review about Gadd which she had seen online (Gadd
 12 Decl., ¶ 19) (Episode Six at 14:45); Harvey attended Gadd’s comedy shows (¶ 21)
 13 (Episode One at 20:20); Harvey emailed Gadd relentlessly (Gadd Decl., ¶ 22 )
 14 (Episode One at 9:50); Harvey sent Gadd hundreds of voicemails (Gadd Decl., ¶ 23)
 15 (Episode Seven at 10:15-12:00).
 16        If there was any doubt whether Martha is Harvey, Laura Wray, who accused
 17 Harvey of stalking her in 1999 (and who provided a declaration in support of
 18 Netflix’s motion to strike (ECF 26-27) candidly admitted during an interview on the
 19 Piers Morgan show that ‘Martha’ is Fiona Harvey:
 20
           when [I] saw ‘Martha’ in Baby Reindeer [I] couldn’t believe it. From
 21        the very beginning it was obvious that it was same the woman. It was
           Fiona Harvey. The actress, who does a very good job, sounds like her,
 22        looks like her, mimicked her to a tee.
 23 Levenson Decl., ¶ 13 (at 3:35-4:05); Wray Decl., ¶ 28. Wray’s statement is
 24 admissible under Fed. R. Evid. §§ 802, 803. To the extent it is not, her deposition is
 25 plainly necessary. Harvey was easily identified as ‘Martha’ by the public based on
 26 the obvious idiosyncratic facts about Harvey referenced in the Series (above).
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 28                                             8
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  1     B. The Public Reasonably Believed Netflix’s False Statements Were True
  2         Netflix argues that “[n]one of the claimed defamatory statements can, in
  3 context, be construed by a reasonable viewer as factual.” Netflix Br. at 12. Netflix’s
  4 position is pure gaslighting. Netflix told the public this was a true story. Complt ¶¶
  5 23, 73; Levenson Decl., ¶ 9, Exh. 7.
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 15         In response, members of the public inundated Harvey with direct messages on
 16 Facebook who identified Harvey as ‘Martha’ and believed Harvey did what Netflix
 17 said she did. Harvey Decl., ¶ 17, Exhs. 1-23. Members of the public were so outraged
 18 by Harvey’s purported conduct that they called her a rapist, threatened her, and told
 19 her to kill herself. Id. Likewise, reporter John Dingwall who published an article
 20 about Harvey on May 3, 2024, received a barrage of intense feedback from people
 21 asking how he could give voice to Harvey, a convicted criminal and who did the
 22 things shown in Baby Reindeer. Dingwall, Decl., ¶ 9.
 23         Netflix argues that the Series could not understood as depicting real events
 24 because each episode had a disclaimer. Netflix Br., at 12. Putting aside that the
 25 premise of the Series is “this is a true story,” Netflix’s ‘disclaimer’ is virtually non-
 26 existent. Episodes of the Series may have a disclaimer buried in the credits, but when
 27 Baby Reindeer is streamed on the Netflix paid subscription streaming service (and
 28                                              9
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  1 not from the thumb drive provided to the Court by Netflix), the episodes
  2 automatically “turn” to the next episode before the credits finish, such that Netflix’s
  3 disclaimer is never seen by the viewer. Levenson Decl., ¶ 10. A viewer would have
  4 to select “watch credits” and, even then, the disclaimer itself is unnoticeable buried
  5 in fine print halfway through three minutes of credits. Levenson Decl., ¶ 10.
  6        Netflix has tried, and failed, to assert the same disclaimer defense in other
  7 litigations. See Gaprindashvili v. Netflix, Inc., 2022 WL 363537, *6 (C.D.Cal. 2022)
  8 (rejecting Netflix’s disclaimer and holding “in context, therefore, Netflix created the
  9 impression that it was asserting objective facts.”); Fairstein v. Netflix, Inc., 553
 10 F.Supp.3d 48, 59 (S.D.N.Y. 2021) (statements in Netflix docudrama were actionable
 11 notwithstanding a disclaimer that appeared in each episode). See also Muzikowski v.
 12 Paramount Pictures Corp., 322 F.3d 918 (7th Cir. 2003) (defamation claim stated
 13 notwithstanding disclaimer “this is a fictious story and no actual persons . . . have
 14 been portrayed.”).
 15        Finally, Netflix’s litigation position that Baby Reindeer is fictionalized does
 16 not bar a finding of defamation. Gaprindashvili at *5 (“the fact that the Series was a
 17 fictional work does not insulate Netflix from liability for defamation if all the
 18 elements of defamation are otherwise present.”); (citing Bindrim v. Mitchell, 92 Cal.
 19 App. 3d 61 (1979), cert. denied, 444 U.S. 984 (1979) (fictional character in the novel
 20 was identifiable as the real person). See Partington v. Bugliosi, 56 F.3d 1147, 1155
 21 (9th Cir. 1995) (creators of docudramas that mix fact and fiction “must attempt to
 22 avoid creating the impression that they are asserting objective facts”).
 23        Netflix relies on Standing Committee on Discipline of U.S. Dist. Court for
 24 Cent. Dist. of California, 55 F.3d 1430, 1437-38 (9th Cir. 1995) and Weyrich v. New
 25 Republic, Inc., 235 F.3d 617, 626 (D.C. Cir. 2001) for the rule that a “specialized
 26 audience not representative of a reasonable person”). Netflix Br. at 10. These cases
 27 do not contain any such holding. Moreover, it is unclear who Netflix claims is a
 28                                             10
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  1 specialized audience in this case – anyone with google could have found Harvey in
  2 minutes based on her “hang my curtains’ tweet. Armstrong Decl.,¶ 4; Dingwall
  3 Decl., ¶ 6. Further, it was clear to those who knew Harvey that she was ‘Martha.’
  4 Hala Decl., ¶¶ 4-8; Levenson Decl., ¶ 10.
  5     C. Netflix’s False Statements Are Not Substantially True
  6        Netflix argues Harvey’s claim does not have minimal merit because Netflix’s
  7 false statements about Harvey are “substantially true.” See Maheu v. Hughes Tool
  8 Co., 569 F.2d 459 (9th Cir. 1977) (“minor inaccuracies” do not amount of falsity).
  9 Specifically, Netflix contends (1) Harvey pinching Gadd’s ‘bum’ is substantially the
 10 same thing as Harvey raping him (Gadd Decl., ¶¶ 16-17) (Complt., ¶¶ 59-61); (2)
 11 Harvey never being convicted of a crime is substantially the same thing as Netflix
 12 falsely stating Harvey having two convictions, pleading guilty to crimes in a
 13 dramatic courtroom scene, and serving 5 years in prison (Harvey Decl., ¶ 13)
 14 (Complt., ¶ 52-58) ; (3) Harvey “shoving” Gadd in the back of his neck is
 15 substantially the same thing as Harvey horrifically gouging out his eyes and
 16 bloodying his head (Gadd Decl., ¶ 19) (Harvey Decl., ¶ 15) (Complt., ¶¶ 69-70); (4)
 17 making up that Harvey stalked a police officer is substantially the same thing as
 18 Harvey never having done so (Complt., ¶¶ 67-68) (Harvey Decl., ¶ 13); and (5)
 19 Harvey waiting outside Gadd’s residence for 16 hours a day is the same thing as
 20 Harvey never having done that. (Complt., ¶ 64) (Harvey Decl., ¶ 13); (Gadd Decl.,
 21 Exh. 44)) (“I am sure [Fiona Harvey] does not know where I live”). Netflix Br. at 13-
 22 14; Gadd Decl., ¶ 67; Netflix Decl., ¶ 8.
 23        Netflix’s argument that the “substantial truth” doctrine applies on these facts
 24 must be rejected. First, false statements charging commission of a crime . . . are
 25 defamatory per se.” Burrill v. Nair, 217 Cal. App. 4th 357, 383 (2013) (disapproved
 26 of on other grounds by Baral v. Schnitt, 1 Cal. 5th 376 (2016); Barnes-Hind, Inc. v.
 27
 28                                             11
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  1 Superior Court, 181 Cal.App.3d 377, 385, 226 Cal.Rptr. 354 (1986). Second, the
  2 conduct that Netflix attributes to Harvey is obviously far from ‘substantially true.’
  3        Netflix’s statements are more negative and monstrous than the truth because
  4 the truth was less entertaining. For example, we do not see ‘Martha’ pinch Gadd’s
  5 bum (as Gadd claims) at the end of Episode Two. Instead, we see Harvey corner
  6 Gadd in a dark alley and rape him. Complt., ¶¶ 59-61. Likewise, the Series finale
  7 does not conclude with Harvey receiving a warning letter from the police as Gadd
  8 claims. Gadd Decl., ¶ 53. Rather, we see a dramatic courtroom scene in which
  9 Harvey sobs as she pleads to guilty and is sentenced to a nine-month prison sentence.
 10 Complt., ¶¶ 56-57.
 11     D. Netflix’s Defamatory Statements are Not Opinions
 12        Netflix argues its false statements about Harvey were non-actionable opinions.
 13 Netflix Br., at 15. Netflix made this same failed argument in other litigations, and it
 14 must fail here as well. See Fairstein v. Netflix, Inc., 553 F. Supp.3d 48, 58 (S.D.N.Y.
 15 2021), (“[t]he average viewer could conclude that these scenes have a basis in fact
 16 and do not merely reflect the creators’ opinions about controversial historical
 17 events.”); Colborn v. Netflix Inc., 541 F. Supp. 3d 888, 901 (E.D. Wis. 2021)
 18 (Netflix’s implication that plaintiff criminally framed Avery for murder was not a
 19 nonactionable opinion). Netflix asserted cold hard facts in the true story about
 20 Harvey – the eye gouging, head smashing monster, who raped Gadd, got convicted
 21 (twice), and served five years in prison. See Toufanian v. Oreffice, 2021
 22 WL4353115, *5 (C.D.Cal. 2021) (statements of opinion are “broad, unfocused, and
 23 wholly subjective.”). Regardless, “a statement that implies a false assertion of fact,
 24 even if couched as an opinion, can be actionable.” Dickinson v. Cosby, 37
 25 Cal.App.5th 1138 (2019).
 26
 27
 28                                            12
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  1                                        POINT III
  2                        HARVEY IS NOT A PUBLIC FIGURE
  3        The determination of whether Plaintiff is a public figure is a question of law.
  4 Rosenblatt v. Baer, 383 U.S. 75, 88 n. 15, 86 S.Ct. 669, 677 n. 15 (1966). As the
  5 moving party, the defendant bears the burden of showing plaintiff is a public figure.
  6 Unsworth v. Musk, 2019 WL 8220721, *4 (C.D.Cal. 2019). “Absent clear evidence
  7 of general fame or notoriety in the community, and pervasive involvement in the
  8 affairs of society, an individual should not be deemed a public personality for all
  9 aspects of his life.” Gertz. To establish defamation, a public figure must show actual
 10 malice, whereas a private person need only show negligence. Gertz v. Robert Welch,
 11 Inc., 418 U.S. 323, 345-246, 94 S.Ct. 2997, (1974).
 12        Netflix claims Harvey is a public figure because Harvey “ran for Parliament”
 13 in 1999. Netflix Br. at 15. Netflix is wrong factually and legally. First, Harvey never
 14 “ran for Parliament.” Harvey Decl., ¶¶ 6-7; Levenson Decl., ¶ 6, Exh. 4. Id. Harvey
 15 was never selected to be a candidate and was never a candidate. Harvey Decl., ¶ 6-7.
 16 Netflix Exh. M (ECF 26-19) (“Nobody could believe it when [Harvey] even tried to
 17 put herself forward as a candidate for the Scottish Parliament and Westminster. . .
 18 she stood absolutely no chance.”); Netflix Exh. T (EF 26-26) (Harvey complained
 19 she was not even on the short list of potential nominees).
 20        Regardless, a candidate for office is not a general public figure after the
 21 election. See Rutt v. Bethlehems’ Globe Pub. Co., 335 Pa.Super 163, 181 (Pa. 1984)
 22 (within three months after defeat in a primary election, plaintiff was not an all-
 23 purpose public figure); MacDonald v. Brodkorb, 939 N.W.2d 468, 479-480 (Ct. of
 24 Appeals of Minn. 2020) (candidate for office is a limited public figure only during
 25 the time he is running for office). Moreover, “a public figure can be so far removed
 26 from his former position in the public eye, that the publisher will no longer enjoy the
 27 prophylactic treatment accorded him when he deals with those persons who truly are
 28                                             13
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  1 public officials or public figures.” Briscoe v. Reader’s Digest Association Inc., 4
  2 Cal.3d 529, n. 13 (1971) (en bank).
  3         Kapellas v. Kofman, 1 Cal.3d 20 (1969) and Mosesian v. McClatchy
  4 Newspapers, 233 Cal.App.3d 1685, 1696-1697 (1991), cited by Netflix, do not hold
  5 otherwise. These cases stand for the unremarkable rule that candidates (present
  6 tense) for public office are public figures because they “accept this risk of closer
  7 scrutiny” since the public must be afforded the opportunity to evaluate the
  8 candidate’s fitness for office. Kapellas at 37; Mosesian at 1696-1697. Netflix cites
  9 no case remotely holding that a former candidate for office remains a public figures
 10 25 years later, let alone a person who was never selected to be a candidate.
 11     A. Harvey Is Not A Limited Public Figure
 12         Three elements must be present in order to characterize a plaintiff as a limited
 13 purpose public figure: (1) there must be a public controversy, which means the issue
 14 was debated publicly and had foreseeable and substantial ramifications for
 15 nonparticipant; (2) the plaintiff must have undertaken some voluntary act through
 16 which he or she sought to influence resolution of the public issue. In this regard it is
 17 sufficient that the plaintiff attempts to thrust him or herself into the public eye; and
 18 (3) the alleged defamation must be germane to the plaintiff's participation in the
 19 controversy. Ampex Corp. v. Cargle, 128 Cal.App.4th 1569, 1577 (2005).
 20         Netflix argues that Harvey is a limited public figure on all issues related
 21 stalking, harassment and assault because she “voluntarily injected herself into a
 22 public controversy, namely stalking and harassment of Laura Wray and Donald
 23 Dewar.” Netflix Br. at 15. First, these events occurred 25 years ago. See Briscoe at n.
 24 12 (““It would be a crass legal fiction to assert that a matter once public never
 25 becomes private again.”).
 26         Second, Harvey’s problems with Wray and Dewar were never a “public
 27 controversy” defined in law as an “issue that was debated publicly and had
 28                                             14
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  1 foreseeable and substantial ramifications for nonparticipants.” Ampex at 1577.
  2 Netflix does not contend Harvey’s disputes with Wray and Dewar affected anyone
  3 other than them. The fact that an article reported that Wray accused Harvey of
  4 stalking does not make Harvey a public figure. See Wolston v. Reader's Digest
  5 Ass'n., Inc., (1979) 443 U.S. 157, 167, 99 S.Ct. 2701, 2707 (“[a] private individual is
  6 not automatically transformed into a public figure just by becoming involved in or
  7 associated with a matter that attracts public attention.”).
  8        Third, Netflix fails to identify any voluntary act by Harvey by which she
  9 sought to influence the public on her disputes with Wray or Dewar. Ampex Corp. at
 10 1577. The full extent of Harvey’s public involvement was purportedly being quoted
 11 as stating “I’ll be contacting my solicitor.” Netflix Exh. M. (ECF 26-19).
 12        Finally, Harvey’s problems with Wray and Dewar in the late 1990s are not
 13 germane to Netflix’s false statements in 2024 that Harvey raped Gadd, attacked
 14 Gadd, was convicted twice and served five years in prison. Ampex Corp. at 1577.
 15 Accordingly, Netflix has failed to satisfy any prong of three-part limited public
 16 figure analysis.
 17     B. Netflix Had Actual Malice
 18         ‘[A]ctual malice’ means that the defamatory statement was made with
 19 knowledge that it was false or with reckless disregard of whether it was false or not.”
 20 Khawar v. Globe Intern., Inc., 19 Cal.4th 254, 275 (1998). Reckless disregard, in
 21 turn, means that the publisher in fact entertained serious doubts as to the truth of his
 22 publication.” Id. To prove actual malice, therefore, a plaintiff must demonstrate with
 23 sufficient evidence that the defendant realized that his statement was false or that the
 24 subjectively entertained serious doubts as to the truth of his statement.” Id. To prove
 25 this culpable mental state, the plaintiff may rely on circumstantial evidence,
 26 including evidence of motive and failure to adhere to professional standards. Id. at
 27 275. Actual malice is established when a publisher learns facts casting doubt on a
 28                                             15
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  1 story but chooses to publish anyway. Masson v. New Yorker Magazine, Inc., 960
  2 F.2d 896, 901 (9th Cir. 1992).
  3         Netflix plainly has actual malice because it has known since May 2024 that
  4 Harvey was never convicted, yet Netflix continues to this day to publish that this is
  5 true. Netflix’s motive is clear – by turning Gadd’s one-man Play “based on a true
  6 story” about a woman (played by a barstool) who received a warning letter about
  7 stalking into an actual “true story” about a woman was convicted of stalking and
  8 served four and a half years in prison, and then years later returns to stalking only be
  9 convicted again and serve additional prison time, Netflix knew it would have
 10 “compelling content” to add subscribers. Complt., ¶ 11; Levenson Decl., ¶ 3, 12;
 11 Exh. 1 at 33, Exh. 9. In transforming the Play into the Series, Netflix made ‘Martha’
 12 more like Harvey – identical physical appearance, nationality, speech, accent,
 13 cadence, and social media messages than the Play, and easier to identify.
 14         The Sunday Times recently reported after this lawsuit was filed that that the
 15 line in the title screen of Episode One, “ ‘this is a true story’ . . . was a request from
 16 Netflix, and that Gadd expressed concerns about presenting it as such.” Levenson
 17 Decl., ¶ 7, Exh. 5 at 2. The reporting by the Sunday Times also confirms that Netflix
 18 did not follow industry custom when it stated “this is a true story.” Id. (“even the
 19 most basic compliance process would have stopped them putting ‘this is a true story’
 20 at the start of the show,’ says one TV executive. A second adds: ‘this failed every
 21 conceivable compliance test. Harvey should have been told that it was coming out,
 22 she should have had a right of reply – but most of all, they had a duty to disguise her
 23 better.”). Discovery is necessary to establish the full extent of Netflix’s actual malice.
 24     C. Harvey Is Not Libel-Proof
 25         A plaintiff is libel-proof when he is “so unlikely by virtue of his life as a
 26 habitual criminal to be able to recover anything other than nominal damages as to
 27 warrant dismissal of the case, involving as it does First Amendment considerations.”
 28                                              16
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  1 Cardillo v. Doubleday & Co., Inc., 518 F.2d 638, 639 (2d Cir.1975). A determination
  2 of libel-proof “[d]epend[s] upon the nature of the conduct, the number of offenses,
  3 and the degree and range of publicity received.” Wynberg v. National Enquirer, Inc.,
  4 564 F.Supp. 924, 928 (C.D.Cal.1982). The passage of time and geographical distance
  5 from when and where press coverage existed are also relevant factors. Von Kahl v.
  6 Bureau of Nat. Affairs, Inc., 934 F.Supp.2d 204 (D.C. 2013).
  7        Harvey is not libel-proof because she has never been convicted of any crime
  8 and is a private person unknown by the public. Harvey Decl., ¶¶ 13-14. While
  9 Netflix dug up two articles that reported accusations of Harvey stalking, those
 10 articles were published more than twenty years ago in Scotland, whereas Harvey has
 11 resided in London since 2005. Putnam Decl., Exhs. M, T; Harvey Decl., ¶ 8.
 12 Moreover, one article relied on by Netflix refers to Harvey, by her former surname,
 13 “Muir.” Netflix Exh. B (ECF 28-5). The articles do not accuse of Harvey of criminal
 14 convictions, sexually assault or violent physical attacks, as Netflix represented in
 15 Baby Reindeer. Complt., ¶¶ 88. There is no evidence anyone has seen these articles
 16 in twenty years or read them. Even if these articles were known, Netflix’s over the
 17 top false statements that Harvey is an eye-gouging, head smashing, convicted
 18 criminal, and rapist, plainly did more to damage Harvey’s reputation than articles
 19 Netflix dug up on the Internet. Harvey is not libel-proof.
 20     D. Attorneys’ Fees Should Be Awarded
 21        A plaintiff who prevails on an anti-SLAPP motion may recover its attorneys’
 22 fees and costs if the plaintiff satisfies § 128.5. In re Aroonsakool, 2012 WL 458819
 23 (S.D.Cal. 2012). Pursuant to § 128.5(b)(2), an anti-SLAPP is “frivolous” if its (A)
 24 totally and completely without merit; or (B) for the sole purpose of harassing an
 25 opposing party.” Id.
 26        Netflix’s anti-SLAPP motion is completely without merit. First, the Complaint
 27 is not even subject to an anti-SLAPP motion because Netflix has admitted to making
 28                                            17
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  1 false statements of criminal convictions. Second, Netflix used the motion to harass
  2 Plaintiff by filing over 75 exhibits that are irrelevant and scandalous.
  3                                     CONCLUSION
  4        For the foregoing reasons, Netflix’s special motion to strike should be denied
  5 and attorneys’ fees awarded to Harvey.
  6
  7 Dated: August 26, 2024
           New York, NY
  8
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  3
  4                         CERTIFICATE OF COMPLIANCE
  5        The undersigned, counsel of record for Plaintiff Fiona Harvey certifies that
  6 this brief contains 5,579 words, which complies with the word limit of the Court’s
  7 standing order. In making this calculation, I have relied on the word count of the
  8 word-processing system used to prepare the document.
  9
 10 Dated: August 26, 2024
 11                                        By: /s/ Brian Levenson
 12                                                Brian Levenson
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